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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST                       No. 1:16-cv-08637 TMD
LITIGATION


This Document Relates To:

All Commercial and Institutional Indirect
Purchaser Plaintiff Actions


   COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’
  UNCONTESTED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENTS
   WITH DEFENDANTS PECO FOODS, INC., GEORGE’S, INC., AND GEORGE’S
  FARMS, INC. AND FOR CONDITIONAL CERTIFICATION OF THE PROPOSED
                        SETTLEMENT CLASSES

       PLEASE TAKE NOTICE that on a date and time to be determined by the Court, if the

Court determines that a hearing is necessary, the Commercial and Institutional Indirect Purchaser

Plaintiffs (“CIIPPs”) will appear (or, will appear by remote means) before the Honorable

Thomas M. Durkin in his courtroom 1441 of the Dirksen Federal Building, 219 South Dearborn

Street, Chicago, Illinois, and will then and there present their Uncontested Motion for

Preliminary Approval of the Settlement With Defendants Peco Foods, Inc., George’s, Inc., and

George’s Farms, Inc. and for Conditional Certification of the Proposed Settlement Class. This

motion is based on this notice of motion and motion, Federal Rule of Civil Procedure 23, the

concurrently filed Memorandum of Law and supporting declaration and exhibits, and all other

evidence and arguments presented in the briefings and at the hearing on this motion.

Dated: December 4, 2020




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Respectfully Submitted:


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